    Case 1:23-mj-04293-DHH Document 19-8 Filed 04/26/23 Page 1 of 7


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                                                        Federal Bureau of In e tigation




                   DEC LARA TION OF LUKE CHURCH,        SPECIAL     AGENT,
                             FEDERAL   BUREAU OF INVESTIGATION


I, LUKE CHURCH, do hereby declare and state as follows:



        1.      I am a Special Agent with the Federal Bureau ofInvestigation              and have

been since August 2022. As a Special Agent, I have received training at the FBI

Academy located in Quantico, Virginia, including training on investigative methods and

training specific to counterintelligence and espionage investigations.      I am currently

assigned to a squad at the FBI Washington Field Office, Counterintelligence           Division,

where I primarily investigate counterintelligence   and espionage matters. During the

course of these investigations, I have conducted or participated in witness and subject

interviews, service of subpoenas, the execution of search and arrest warrants, the seizure

of evidence, including computer, electronic, and email evidence, as well as requested and

reviewed pertinent records. Based on my experience and training, I am familiar with the

requirements for the handling of classified documents and information.         I am also

familiar with the methods used by individuals engaged in the unlawful use or disclosure

of classified information.

        2.      I am currently investigating the activities of JACK DOUGLAS

TEIXEIRA ("TEIXEIRA"), whom I believe willfully retained and transmitted classified

national defense information to a person not entitled to receive it in violation of 18 U.S.C.
    Case 1:23-mj-04293-DHH Document 19-8 Filed 04/26/23 Page 2 of 7




§ 793(b) and (d) and 18 U.S.C. § 1924. I make the following statements based upon my

personal knowledge and information made available to me in my official capacity.

        3.       During the course of my investigation, I have reviewed records lawfully

obtained from a social media platform where TEIXEIRA originally posted classified

national defense information (the "Social Media Platform").    As described in the

Affidavit in Support of an Application for a Criminal Complaint and Arrest Warrant

("Affidavit") for TEIXEIRA, the Social Media Platform provided the FBI with subscriber

information for the user of a particular usemame that indicated the billing name

associated with that usemame was "Jack Teixeira," and the billing address associated

with that usemame was a residence I know to be associated with TEIXEIRA.

       4.        Records from the Social Media Platform reflect that TEIXEIRA sent more

than 40,000 messages between November 1,2022 and April 7, 2023. I have reviewed

portions of these records and observed the following interactions between TEIXEIRA

and others on the server:

             •   23 November 2022:

                        TEIXEIRA: "I hope isis goes through with their attack plan and
                        creates a massacre at the World Cup"

                        TEIXEIRA:    If I had my way I'd kill a fuck ton of people
                        TEIXEIRA:    Bc in all honesty you have to
                        TEIXEIRA:    Whether or not you like it
                        TEIXEIRA:    Seriously I would be forcibly culling the weak minded

             •   4 February 2023:

                        User: Seeing a lot of fed cars sneaking around as well
                        TEIXEIRA: Like?
                        User: The usual fedmobile chevies and gmc
                        TEIXEIRA: See what's funny is those can be fed cars
                        TEIXEIRA: but glow[redacted] use dodge caravans ALOT
                        User: Scary
Case 1:23-mj-04293-DHH Document 19-8 Filed 04/26/23 Page 3 of 7



                TEIXEIRA: To make people disappear and shit

                TEIXEIRA: I've been tempted to buy one and make it an
                assassination van

                User: Speaking of caravan
                TEIXEIRA: Set up an ar and sniper blind

     •   10 February 2023 [soliciting advice for the proper rifle size to operate
         from the back of an SUV]

                TEIXEIRA: ... i wanted a can on an ar to shoot out of an suv
                TEIXEIRA: accurately

                User: Unless you have the whole passenger area converted for gun
                activities
                User: Ifso 12.5-14.5 would make sense
                TEIXEIRA: w/can?
                User: Yeah
                User: Cans are important bc it makes it sorta hard to tell where its
                coming from or what it was

                TEIXEIRA: well for this it would be a crowded urban or suburban
                environment
                TEIXEIRA: so its essential
                User: Would you use it to go through a crowd or nah
                TEIXEIRA: the car or the gun?
                User: Gun
                TEIXEIRA: no
                TEIXEIRA: car is parked
                TEIXEIRA: window down
                TEIXEIRA: stationary or driver
                User: AIr
                TEIXEIRA: target on a sidewalk or porch

     •   18 March 2023:

                TEIXEIRA: Yeah I just fuckin hate school
                TEIXEIRA: 2nd semester in and I already want to bomb the place
                User: Real
                User: School sucks shit
                User: Just the structure and the campuses and shit
                User: All piss me off
                TEIXEIRA: I'm going fully online
                TEIXEIRA: Bc it's way to far away for me to go in person
                TEIXEIRA: Plus fuck college culture
Case 1:23-mj-04293-DHH Document 19-8 Filed 04/26/23 Page 4 of 7



                 User: Even for a gunsmithing degree the school part of it is just the
         worst
                 User: If i lived in a dorm i would firebomb it
                 TEIXEIRA: Same
                 TEIXEIRA: Fuck these places

     •   30 March 2023:

                 User: Also I'm now fully convinced SUVs and crossovers serve no
                 fucking purpose

                TEIXEIRA: The only exception I'll give is Muh Yukons,
         Escalades, and
                suburbans
                User: Wagons superior
                User: Honestly true SUVs
                User: Not the shit we have
                TEIXEIRA: They are mobile gun trucks to me
                TEIXEIRA: Off-road and good assassination vehicles

     •   23 November 2022:

                 User: Isnt that shit classified
                 User: ?
                 TEIXEIRA: everything that ive been telling u guys up to this point
                 has been 101
                 TEIXEIRA: this isnt different
                 User: Well
                 User: You rly trust everyone here then
                 TEIXEIRA: i have plausible deniability and non of them know
                 anything
                 incriminating about me
                 TEIXEIRA: no one has a point of contact to my work
                 TEIXEIRA: no one knows where i work
                 TEIXEIRA: and no one knows how to identify me
                 TEIXEIRA: dw ive thought of that

     •   8 December 2022:

                 TEIXEIRA:    that is one page
                 TEIXEIRA:    the entire thing will take up paragraphs of paragraphs
                 TEIXEIRA:    i usually split it up by agency
                 TEIXEIRA:    that portion i posted is from the [REDACTED]

     •   13 December 2022:
Case 1:23-mj-04293-DHH Document 19-8 Filed 04/26/23 Page 5 of 7



                TEIXEIRA: Since you wanted the full report instead of the brief
                few summaries I give in [REDACTED] here you go, I've reported
                stuff like this almost daily as I get it to my friends and have always
                done it in this format

                TEIXEIRA: I have not yet done todays
                TEIXEIRA: I also omit a decent amount as I don't think it's
                pertinent and there's just so much of it
                TEIXEIRA: Not gonna type out 35 pages of information it's just
                not happening
                TEIXEIRA: So I tailor it and take important parts and include as
                many details as possible

     •   19 March 2023:

                TEIXEIRA: Like to thank everyone who came to the thread about
                the current event, going on and participated and listen to me, cover
                set event since it's beginning, I was very happy and willing and
                enthusiastic to have covered this event for the past year and share
                with all of you something that not many people get to see
                something very few people in fact, get to see, but despite all of
                this, I've decided to stop with the updates

                TEIXEIRA: If you guys do you want happenings that pertain to
                your country or events or politics or whatever you can DM me and
                I can tell you what I have, but it's going to always be a brief
                summary
                TEIXEIRA: I can't promise, speed or prompt response, but I will
                respond to you eventually so offers on the table. If you want to
                take it until then I'll still be sticking around here still be posting
                shit, so not going anywhere don't worry about that.

     •   6 April 2023:

                User: i think your thingies got passed along
                User: seeing pro rus telegram with them
                TEIXEIRA: Which ones?
                User: i screenshotted one can i send?

                TEIXEIRA: Sure

                User: is it actually one of them btw?
                TEIXEIRA: Not commenting
                User: aight
                User: ima delete it too
                User: did you share them outside of abis?
Case 1:23-mj-04293-DHH Document 19-8 Filed 04/26/23 Page 6 of 7



                TEIXEIRA: I think I'm done talking about this
                User: ok
                TEIXEIRA: Permanently
                User: sorry if I pushed you here
                TEIXEIRA: It's fine
                TEIXEIRA: Just letting u know I'm leaving the server
                TEIXEIRA: Don't make a huge deal of it

     •   7 April 2023:

                User: its so over
                TEIXEIRA: Ik
                TEIXEIRA: Dw about it

                User: its a pretty dead server anyway
                TEIXEIRA: On this note I think it'll be best we head our separate
     ways

                TEIXEIRA: Another thing
                TEIXEIRA: If anyone comes looking, don't tell them shit
                User: wont
                User: wont send any info on your account or screencaps
                TEIXEIRA: Pass this on to [User 2, User 3, User 4, User 5] and
                most others who were in that thread

                TEIXEIRA: I mean tell them not to tell anyone

                TEIXEIRA: Hey u still on?
                TEIXEIRA: Whenever you get this, try to delete all my messages
                in civil discussions
                TEIXEIRA: Especially those not in the thread
                User: kk
                TEIXEIRA: Wait got an idea
                TEIXEIRA: Give me an invite
                TEIXEIRA: Then ban me and delete all messages
                User: alright
                User: gave you access
                TEIXEIRA: Ok now do it
                TEIXEIRA: It should give an option to delete all messages
                User: it only goes to past 7 days
                TEIXEIRA: Fuck AIr nvm
                TEIXEIRA: Just find stuff from Feb 2022 in civil discussion and
                delete it during your free time
    Case 1:23-mj-04293-DHH Document 19-8 Filed 04/26/23 Page 7 of 7



        5.      The interactions described above do not reflect all my knowledge on this

matter or all relevant, inculpatory, or violent messages that I observed. They are instead

offered to provide the Court with representative sample of certain messages attributable

to TEIXEIRA.

                                          *      *        *

        I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.




                                              Special Agent, Federal Bureau of Investigation
